Case: 1:21-cv-02525 Document #: 130 Filed: 09/13/22 Page 1 of 1 PageID #:3526

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Bludgeon Riffola Ltd.
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:21−cv−02525
                                                                       Honorable Gary
                                                                       Feinerman
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 13, 2022:


         MINUTE entry before the Honorable Gary Feinerman:Status hearing held. Motion
hearing held and continued to 10/26/2022 at 9:00 a.m. Defendant's motion to vacate
preliminary injunction [96] is entered and continued. Defendant's motion to dismiss [117]
is entered and continued. Plaintiff shall respond by 10/4/2022; Defendant shall reply by
10/18/2022. Plaintiff's motion to compel discovery responses [127] is entered and
continued. Defendant shall respond by 9/19/2022; Plaintiff shall reply by 9/26/2022. For
the reasons stated on the record, Plaintiff's motion to strike [126] and Plaintiff's motion for
sanctions [98] are denied. Attorneys/Parties should appear for the 10/26/2022 hearing by
calling the Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the
public and media will be able to call in to listen to this hearing (use toll free number).
Please, please be sure to keep your phone on mute when you are not speaking. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
